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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF ARKANSAS
                            HOT SPRINGS DIVISION

WESTERN-SOUTHERN LIFE                        )
ASSURANCE COMPANY,                           )
                                             )
      Stakeholder,                           )
                                             )
v.                                           )
                                             )
DOROTHY FAYE RILEY; LINDA S.                 )   Civil Action No. 6:22-cv-06091-SOH
MITCHELL; and CHRISTINE WHITT, in            )
her capacity as trustee of THE JOAN          )
DONNA SULICH REVOCABLE LIVING                )
TRUST,                                       )
                                             )
      Claimants.                             )
                                             )
And in the Alternative                       )
                                             )
CHRISTINE WHITT, in her capacity as          )
Trustee of THE JOAN DONNA SULICH             )
REVOCABLE LIVING TRUST,                      )
                                             )
      Plaintiff,                             )
                                             )
v.                                           )
                                             )
ARVEST INVESTMENTS, INC.,                    )
                                             )
      Defendant                              )


      SEPARATE CLAIMAINT CHRISTINE WHITT AS TRUSTEE FOR THE
      JOAN DONNA SULICH REVOCABLE LIVING TRUST’S ANSWER TO
      SEPARATE CLAIMANTS DOROTHY FAYE RILEY AND LINDA S.
      MITCHELL’S CROSSCLAIM FOR DECLARATORY JUDGMENT
______________________________________________________________________________

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        Comes Separate Claimant Christine Whitt, in her capacity as Trustee of the Joan Donna

Sulich Revocable Living Trust, by and through her attorneys, Wesley W. Harris of Farrar &

Williams, PLLC and Kyle P. Tate of The Tate Firm, PLLC, and for her Answer to Separate

Claimants Dorothy Faye Riley and Linda S. Mitchell’s Crossclaim for Declaratory Judgment,

states as follows:

        1.      On June 20, 2023, Separate Claimants Dorothy Faye Riley and Linda S. Mitchell

(“Sisters”) filed their Amended Answer, which included a Crossclaim for Declaratory Judgment

(Count I) against Separate Claimant Christine Whitt that was set forth in Paragraphs 45 through

47 of that document.

        2.      Pursuant to Rule 12(a)(1)(B) of the Federal Rules of Civil Procedure, Separate

Claimant Christine Whitt denies the allegations in Paragraphs 45 through 47 of the Sisters’

Crossclaim.

        3.      Separate Claimant Christine Whitt denies all other allegations in the Sisters’

Amended Answer and Crossclaim not specifically admitted herein.

        4.      Separate Claimant Christine Whitt denies that the Sisters are entitled to the relief

requested in the “WHEREFORE” clause of their Crossclaim.

        WHEREFORE, Separate Claimant Christine Whitt, in her capacity as the Trustee of the

Joan Donna Sulich Revocable Living Trust, respectfully request that the Court dismiss and deny

the relief requested in Separate Claimants Dorothy Faye Riley and Linda S. Mitchell’s Crossclaim,

and for her attorneys’ fees, costs, and all other relief to which she is entitled.



                                                         Respectfully submitted,

                                                         WESLEY W. HARRIS

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                                                        By: /s/ Wesley W. Harris
                                                            Wesley W. Harris, Bar No. 2019149




                                 CERTIFICATE OF SERVICE

        I hereby certify that on this, the 7th day of July, 2023, I electronically filed the foregoing
via the ECF system which will send notification to the following:


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                                                        /s/ Wesley W. Harris
                                                        WESLEY W. HARRIS




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